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                             UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF ILLINOIS

                                      EASTERN DIVISION

JAMES CLEM, Derivatively on Behalf of)               Case No.
EXELON CORPORATION,                  )
                                     )
                  Plaintiff,         )
                                     )
       v.                            )
                                     )
CHRISTOPHER M. CRANE, JOSEPH         )
DOMINGUEZ, ANNE R. PRAMAGGIORE, )
and WILLIAM A. VON HOENE, JR.,       )
                                     )
                  Defendants,        )
                                     )
    - and -                          )
                                     )
EXELON CORPORATION, a Pennsylvania )
Corporation,                         )
                                     )
                  Nominal Defendant. )               DEMAND FOR JURY TRIAL
                                     )

             VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT FOR
              BREACH OF FIDUCIARY DUTY, UNJUST ENRICHMENT,
                     AND VIOLATION OF SECURITIES LAW

       Plaintiff, by his attorneys, submits this Verified Stockholder Derivative Complaint for

Breach of Fiduciary Duty, Unjust Enrichment, and Violation of Securities Law. Plaintiff alleges

the following on information and belief, except as to the allegations specifically pertaining to

plaintiff which are based on personal knowledge. This complaint is also based on the investigation

of plaintiff's counsel, which included, among other things, a review of public filings with the U.S.

Securities and Exchange Commission ("SEC") and a review of news reports, press releases, and

other publicly available sources.

                       NATURE AND SUMMARY OF THE ACTION

       1.      This is a stockholder derivative action brought by plaintiff on behalf of nominal

defendant Exelon Corporation ("Exelon" or the "Company") against certain of its officers and


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directors for breach of fiduciary duty, unjust enrichment, and violation of securities law. These

wrongs resulted in hundreds of millions of dollars in damages to Exelon's reputation, goodwill,

and standing in the business community. Moreover, these actions have exposed Exelon to billions

of dollars in liability for violations of state and federal law.

        2.       Exelon is one of the largest electric companies in the United States. Exelon's

controlled subsidiary, Commonwealth Edison Company ("ComEd"), is the Company's largest and

most important utility company. In 2018, ComEd accounted for more than 30% of Exelon's total

reported net income.

        3.       Unknown to the public, however, was that this net income was bolstered by an

illegal scheme enacted by some of the top executives at ComEd and Exelon. In particular, from

2011 to 2019, ComEd, which operates in Illinois, bribed a top legislator in Illinois in order to pass

favorable legislation, which allowed ComEd to boost prices to its Illinois customers. During this

time period, ComEd funneled over $1.3 million to this legislator and his allies. In exchange, the

legislator pushed through laws that would have netted ComEd hundreds of millions of dollars.

        4.       The Company's bribery scheme came crumbling down in the second half of 2019.

The Federal Bureau of Investigation ("FBI") initiated raids on a number of the legislator's top aides

and confidants, including a ComEd/Exelon consultant. The Company received a subpoena around

the same time.

        5.       Then in October 2019, with the approval of the Board of Directors (the "Board") of

Exelon, ComEd entered into a Deferred Prosecution Agreement (the "DPA") with the U.S.

Department of Justice ("DOJ"). The DPA required Exelon to pay a $200 million criminal penalty,

enact new controls, and ComEd publicly admitted to engaging in the bribery.                 Further,




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ComEd/Exelon has become persona non grata in Illinois, as favorable legislation that was

expected to pass in 2019 has stalled.

       6.      In addition, the Individual Defendants (as defined herein) made a series of false

statements to the investing public, which inflated the Company's stock price. After the truth was

revealed, investors filed a securities fraud class action in the U.S. District Court for the Northern

District of Illinois. On April 21, 2021 U.S. District Judge Virginia M. Kendall denied the

defendants' motions to dismiss in that action, finding that the plaintiff adequately alleged that the

defendants made a series of false and misleading statements with scienter.

       7.      On August 11, 2020, over 10 months ago, plaintiff made a litigation demand on the

Board (the "Demand"). After months of delay, on April 5, 2021, plaintiff finally received a letter

from counsel stating that it represented a Special Litigation Committee ("SLC") of the Board newly

formed to consider the Demand.

       8.      In response, plaintiff asked what steps the SLC was taking to preserve the

Company's valuable claims in light of the substantial passage of time and pending statute of

limitation deadlines. The SLC stated that it planned to do nothing about the statute. Thus, in light

of the substantial amount of time that has passed, and the SLC's apparent willingness to let valuable

claims simply expire, plaintiff now brings this action.

                                 JURISDICTION AND VENUE

       9.      Jurisdiction is conferred by 28 U.S.C. §1332. Complete diversity among the parties

exists and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       10.     This Court also has jurisdiction pursuant to 28 U.S.C. §1331 and section 27 of the

Securities Exchange Act of 1934 (the "Exchange Act") over the claims asserted herein for




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violations of section 14(a) of the Exchange Act and SEC Rule 14a-9, promulgated thereunder.

This Court has supplemental jurisdiction over the remaining claims under 28 U.S.C. §1367.

        11.     This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in this District,

or is an individual who has sufficient minimum contacts with this District to render the exercise

of jurisdiction by the District courts permissible under traditional notions of fair play and

substantial justice.

        12.     Venue is proper in this Court in accordance with 28 U.S.C. §1391 because:

(i) Exelon maintains its principal place of business in this District; (ii) one or more of the

defendants either resides in or maintains executive offices in this District; (iii) a substantial portion

of the transactions and wrongs complained of herein, including the defendants' primary

participation in the wrongful acts detailed herein, and aiding and abetting and conspiracy in

violation of fiduciary duties owed to Exelon, occurred in this District; and (iv) defendants have

received substantial compensation in this District by doing business here and engaging in

numerous activities that had an effect in this District.

                                           THE PARTIES

Plaintiff

        13.     Plaintiff James Clem was a stockholder of Exelon at the time of the wrongdoing

complained of, has continuously been a stockholder since that time, and is a current Exelon

stockholder. Plaintiff is a citizen of California.

Nominal Defendant

        14.     Nominal defendant Exelon is a Pennsylvania corporation with principal executive

offices located at 10 South Dearborn Street, Chicago, Illinois. Accordingly, Exelon is a citizen of




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Pennsylvania and Illinois. Exelon is a utility services holding company engaged in the generation,

delivery, and marketing of energy through its subsidiaries which includes ComEd. ComEd

purchases and regulates the retail sale of electricity and provides transmission and distribution

services of electricity to retail customers throughout northern Illinois. As of December 31, 2020,

Exelon had 32,340 employees.

Defendants

       15.     Defendant Christopher M. Crane ("Crane") is Exelon's Chief Executive Officer

("CEO") and a director and has been since March 2012 and President and has been since September

2008. Defendant Crane was Exelon's Chief Operating Officer from September 2008 to March

2012; Senior Vice President from at least December 2004 to 2007; and Executive Vice President

from 2007 to September 2008. Defendant Crane is a member of Exelon's Risk Committee and has

been since at least April 2020. Defendant Crane is named as a defendant in a related securities

class action complaint that alleges he violated sections 10(b) and 20(a) of the Exchange Act and

SEC Rule 10b-5, promulgated thereunder.          Exelon paid defendant Crane the following

compensation as an executive:




Defendant Crane is a citizen of Illinois.




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        16.    Defendant Joseph Dominguez ("Dominguez") is ComEd's CEO and has been since

August 2018. Defendant Dominguez was Exelon's Executive Vice President of Governmental &

Regulatory Affairs & Public Policy from March 2015 to August 2018; Senior Vice President of

Governmental & Regulatory Affairs & Public Policy from 2012 to March 2015; Senior Vice

President, Federal Regulatory Affairs & Public Policy from 2010 to 2012; and Senior Vice

President, Communications and Public Affairs from 2009 to 2010. Defendant Dominguez is

named as a defendant in a related securities class action complaint that alleges he violated sections

10(b) and 20(a) of the Exchange Act and SEC Rule 10b-5, promulgated thereunder. Defendant

Dominguez is a citizen of Illinois.

        17.    Defendant Anne R. Pramaggiore ("Pramaggiore") was Exelon's Senior Executive

Vice President and Exelon Utilities' CEO from June 2018 to October 2019.                  Defendant

Pramaggiore was ComEd's CEO from 2012 to June 2018; President from 2009 to June 2018; and

Chief Operating Officer from 2009 to 2012. Defendant Pramaggiore was ComEd's Executive Vice

President, Customer Operations, Regulatory and External Affairs from 2007 to 2009; Senior Vice

President, Legislative and External Affairs from 2005 to 2007; and Vice President, Regulatory and

Strategic Services from 2002 to 2005. Defendant Pramaggiore is named as a defendant in a related

securities class action complaint that alleges she violated sections 10(b) and 20(a) of the Exchange

Act and SEC Rule 10b-5, promulgated thereunder. Exelon paid defendant Pramaggiore the

following compensation as an executive:

                                                          Change in
                                                        Pension Value
                                                             and
                                                         Nonqualified
                                        Non-Equity        Deferred
                        Stock         Incentive Plan    Compensation      All Other
 Year      Salary      Awards         Compensation        Earnings      Compensation       Total
 2019     $758,915    $2,388,777         $668,209         $223,801        $263,087      $4,302,789
 2018     $720,225    $3,892,882         $885,414         $194,694        $220,915      $5,914,130




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Defendant Pramaggiore is a citizen of Illinois.

       18.     Defendant William A. Von Hoene, Jr. ("Von Hoene") was Exelon's Senior

Executive Vice President and Chief Strategy Officer from March 2012 to March 2021. Defendant

Von Hoene was Exelon's Executive Vice President, Finance and Legal from 2009 to March 2012;

Executive Vice President and General Counsel from 2008 to 2009; and Senior Vice President and

General Counsel from 2006 to 2008. Defendant Von Hoene was also Exelon's Senior Vice

President and acting General Counsel from 2005 to 2006; Senior Vice President and Deputy

General Counsel from 2004 to 2005 and Vice President and Deputy General Counsel from 2002

to 2004. Defendant Von Hoene is named as a defendant in a related securities class action

complaint that alleges he violated sections 10(b) and 20(a) of the Exchange Act and SEC Rule

10b-5, promulgated thereunder. Exelon paid defendant Von Hoene the following compensation

as an executive:




Defendant Von Hoene is a citizen of Illinois.

       19.     Collectively, the defendants identified in ¶¶15-18 are referred to herein as the

"Individual Defendants."




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                         EXELON'S CODE OF BUSINESS CONDUCT

       20.     Exelon has had a Code of Business Conduct (the "Code") since at least 2012 that

prohibited lobbying activities on behalf of Exelon without express approval of the Company's

Government and Regulatory Affairs or the Legal Department. In particular, the Code stated:

       Lobbying

       Exelon is subject to regulation at various levels of government, and is profoundly
       affected by decisions of elected and appointed government officials. Exelon is
       therefore engaged with and actively lobbies such government officials in the
       policymaking process in support of Exelon's business interests on various issues. It
       is important to our success that advocacy on behalf of Exelon be consistent,
       coordinated and focused on both our short-term and long-term interests. No Exelon
       personnel may engage in lobbying activities on behalf of the Company, testify or
       provide comments before any legislative committees for Exelon, or accept an
       appointment to an advisory or study group established by a legislative body or
       administrative agency on behalf of Exelon without first obtaining the approval of
       Government and Regulatory Affairs or the Legal Department. Government and
       Regulatory Affairs will also help ensure compliance with all lobbying registration,
       reporting, and disclosure requirements. All Exelon lobbyists are expected to follow
       both the letter and spirit of the lobbying laws and to maintain the highest standards
       of professional integrity.

       21.     The Code notes that "Exelon … advocates for legislation we believe will enhance

value for our customers, communities, employees and shareholders. Those of us who have contact

with legislators, regulators, executive branch officials or their staffs may be involved in lobbying,

and must take care to comply with the laws applicable to these activities."

       22.     The Code also required employees and agents to: (i) "[k]eep accurate and complete

records so all payments are honestly detailed and company funds are not used for unlawful

purposes"; (ii) "[c]onduct due diligence on all potential agents, consultants or other business

partners"; (iii) "[n]ever use a third party to make payments or offers that could be improper"; and

(iv) "never request, offer or accept any form of payment or incentive intended to improperly

influence a decision."




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       23.      Exelon's Code also prohibited bribery and listed as an example of a prohibited

bribe: "Providing something of value for the benefit of a public official in a position to make a

decision that could benefit the company."

       24.      The Code applied to "directors, officers and employees," Exelon "subsidiaries," and

"[t]hird parties such as consultants[.]" Further, "[a]ll non-represented [e.g., nonunion] employees

and members of the Board of Directors must complete a certification of compliance questionnaire

each year."

       25.      Under the heading, "Disciplinary Action," the Code stated that "[t]he Code is of the

utmost importance to the company and violations will not be tolerated. Accordingly, the Code will

be appropriately enforced, regardless of the seniority, role or location of those involved in

misconduct," and anyone who "[a]uthorizes or participates in actions that violate the Code or law"

or who "[f]ails to complete or falsely completes a certification of compliance," may be subject to

"[t]ermination of employment" or "[r]eferral to law enforcement." Further, the Code stated, "[a]

waiver of any provision of the Code will be made only in exceptional circumstances for substantial

cause" and "any waiver of a provision in the Code for any director or executive officer will be

disclosed to shareholders."

       26.      The Company explicitly noted the Code and attached it as an exhibit to its filings

with the SEC, including its combined Annual Report on Form 10-K for the year ended December

31, 2018 (the "2018 Form 10-K") filed with the SEC on February 8, 2019. Further, the Code noted

that it was approved by the Board.

              EXELON ENGAGES IN AN EIGHT-YEAR BRIBERY CAMPAIGN

       27.      Exelon, a utility services holding company, engages in the generation and

marketing of energy in the United States and Canada. It is one of the largest electric companies in




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the United States. One of its subsidiaries is ComEd, which, according to the Company's combined

Quarterly Report on Form 10-Q filed with the SEC on May 8, 2020, purchases, transmits, and

distributes electricity in northern Illinois, including the City of Chicago. ComEd is the largest

utility company in Illinois.       It employs over 6,000 individuals, and delivers electricity to

approximately 70% of Illinois's population.

        28.        Exelon, through ComEd, engaged in an eight-year-long bribery scheme in order to

influence Illinois lawmakers to enact legislation favorable to Exelon. The public learned the extent

of this bribery scheme on July 17, 2020. On that day, the DOJ issued a press release announcing

that ComEd "Agrees to Pay $200 Million to Resolve Federal Criminal Investigation Into Bribery

Scheme." The press release also noted that "ComEd Admits Arranging Jobs and Contracts for

Political Allies of High-Level State of Illinois Official." ComEd admitted to the wrongdoing and

agreed to pay $200 million as part of the DPA that would stay in place for three years. That same

day, Exelon and ComEd filed a combined Current Report on Form 8-K disclosing the DPA.

        29.        ComEd engaged in the scheme in order to get the Illinois General Assembly to pass

bills favorable to it.     The Illinois General Assembly routinely considered bills and passed

legislation that had a substantial impact on ComEd's operations and profitability, including

legislation that affected the regulatory process used to determine the rates ComEd could charge

customers for the delivery of electricity. In order for legislation to become law, it must be passed

by both houses of the Illinois General Assembly—the Illinois House of Representatives and the

Illinois Senate.

        30.        Two laws are of particular importance in this matter. The first is the Energy

Infrastructure and Modernization Act ("EIMA"), which the General Assembly passed in 2011.

EIMA provided for a regulatory process through which ComEd was able to more reliably




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determine rates it could charge customers and, in turn, determine how much money it was able to

generate from its operations to cover, among other things, costs for grid-infrastructure

improvements. The passage of EIMA therefore helped improve ComEd's financial stability.

EIMA was passed by the Illinois House of Representatives in or around May 2011, and by the

Illinois Senate in or around August 2011. EIMA was then vetoed by the Governor of the State of

Illinois. In October 2011, both houses of the Illinois General Assembly voted to override the

Governor's veto. The second law is the Future Energy Jobs Act ("FEJA"), which the Illinois

General Assembly passed in 2016. FEJA provided for a renewal of the regulatory process that

was beneficial to ComEd.

       31.     During the relevant period, the Speaker of the Illinois House of Representatives,

Rep. Michael J. Madigan ("Madigan"), exercised considerable power over the Illinois House of

Representatives. 1 He was able to exercise control over what measures were called for a vote in

the House of Representatives and had substantial influence and control over fellow lawmakers

concerning legislation, including legislation that affected ComEd.

       32.     In the statement of facts, attached to DPA, the DOJ identified two individuals at

ComEd that played a significant role in the bribery scheme detailed herein. The DOJ called the

first "CEO-1" and identified CEO-1 as the "chief executive officer of ComEd between in and

around March 2012 and May 2019. From June 1, 2019 to October 15, 2019, CEO-1 served as a

senior executive at Exelon Utilities and had oversight authority over ComEd's operations." This

description matches defendant Pramaggiore and only defendant Pramaggiore. The second is

"Senior Executive 1" that "served as ComEd's senior vice president for legislative and external



1
 The DOJ refers to "Public Official A" in the DPA, and Madigan is the only person that fits the
DOJ's description of "Public Official A."



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affairs from in or around March 2012 until in or around September 2019." This individual's

description matches that of Fidel Marquez ("Marquez"). In addition, the DOJ referred to an

"Individual A." In particular, the statement of facts stated, "Individual A served in the Illinois

House of Representatives for approximately ten years beginning in 1972. After Individual A's

service in the Illinois House of Representatives, Individual A served as a lobbyist and/or consultant

for ComEd until 2019." Individual A's description matches that of Michael McClain ("McClain").

Next, the DOJ identified "Lobbyist 1" in the statement of facts that "Lobbyist 1 served as ComEd's

executive vice president of legislative and external affairs from in and around 2009 until Lobbyist

1's retirement in and around 2012. From 2012 to 2019, Lobbyist 1 served as an external lobbyist

for ComEd." The description of Lobbyist 1 matches John Hooker ("Hooker"). Lastly, the

statement of facts identifies "Consultant 1" who was "the owner of Company 1, which performed

consulting services for ComEd until in and around 2019." This description matches Jay Doherty

("Doherty"), the owner of Jay D. Doherty & Associates ("JDDA"), which performed consulting

services for ComEd until 2019.

       33.     On November 18, 2020, the DOJ indicted defendant Pramaggiore, Hooker,

Doherty, and McClain for their actions in connection with the illegal bribery conspiracy. While

the indictment identified Marquez by name, it did not name him as a defendant.

       34.     As part of the DPA, ComEd admitted that the following facts concerning its illegal

bribery scheme were true. From 2011 to 2019, in an effort to influence and reward Madigan's

efforts to assist ComEd with respect to legislation concerning ComEd and its business, ComEd

arranged for various associates of Madigan, including Madigan's political allies and individuals

who performed political work for Madigan, to obtain jobs, vendor subcontracts, and monetary

payments associated with those jobs and subcontracts from ComEd, even in instances where




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certain political allies and workers performed little or no work that they were purportedly hired to

perform for ComEd.

       35.     Beginning no later than 2011, Madigan and McClain sought to obtain from ComEd

jobs, vendor subcontracts, and monetary payments associated with those jobs and subcontracts for

various associates of Madigan, such as precinct captains who operated within Madigan's legislative

district. In or around 2011, McClain and Hooker developed a plan to direct money to two of

Madigan's associates ("Associate 1" and "Associate 2") by having ComEd pay them indirectly as

subcontractors to Doherty. Payments to Associate 1 and Associate 2, as well as later payments to

other subcontracted associates of Madigan, continued until in or around 2019, even though those

associates did little or no work during that period.

       36.     Doherty agreed in 2011 that Madigan's associates would be identified as

subcontractors under Doherty's contract and that ComEd's payments to Doherty would be

increased to cover payments to those subcontractors. Between in or around 2011 and 2019,

Doherty executed written contracts and submitted invoices to ComEd that made it falsely appear

that the payments made to JDDA were all in return for Doherty's advice on "legislative issues" and

"legislative risk management activities," and other similar matters, when in fact a portion of the

compensation paid to JDDA was intended for ultimate payment to Madigan's associates, who in

fact did little or no work for ComEd. Doherty and JDDA did little, if anything, to direct or

supervise the activities of Madigan's associates, even though they were subcontracted under and

received payments through JDDA. Moreover, because they were paid indirectly through JDDA,

the payments to Madigan's associates over the course of approximately eight years were not

reflected in the vendor payment system used by ComEd, and as a result, despite that Madigan's

associates were subcontracted under and receiving payments through JDDA, no such payments




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were identifiable in ComEd's vendor payment system. Certain senior executives and agents of

ComEd were aware of these payments from their inception until they were discontinued in or

around 2019. For example, in or around May 2018, Madigan, through McClain, asked defendant

Pramaggiore to hire a political ally of Madigan who was retiring from the Chicago City Council

at the end of the month ("Associate 3"). Defendant Pramaggiore, in coordination with Marquez

and Doherty, agreed that ComEd would pay Associate 3 approximately $5,000 a month indirectly

as a subcontractor through JDDA.

       37.    At the time defendant Pramaggiore approved this arrangement, she was aware that

there were other associates of Madigan that were paid indirectly as subcontractors through JDDA,

which defendant Pramaggiore referred to as the "roster." Defendant Pramaggiore also agreed that

Madigan—rather than an officer or employee of ComEd or JDDA—would advise Associate 3 of

this new arrangement. In or around June 2018, JDDA's contract was revised to include extra

funding for the purpose of paying Associate 3. In seeking to justify the extra funding, Doherty

claimed falsely that an additional fee of $5,000 a month was necessary under JDDA's contract, in

part because of JDDA's "expanded role with Cook County Board president's office and Cook

County Commissioners and Department Heads," when in fact the additional $5,000 a month in

compensation was intended for payment to Associate 3. ComEd approved of the additional

payments to JDDA, knowing they were intended for Associate 3. Certain senior executives and

agents of ComEd were also aware of the purpose of these payments to Madigan's associates,

namely, that they were intended to influence and reward Madigan in connection with Madigan's

official duties and to advance ComEd's business interests. For example:

              (a)     On or about May 16, 2018, McClain explained to Marquez why certain

individuals were being paid indirectly through JDDA, by making reference to their utility to




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Madigan's political operation. McClain identified Associate 1, one of the several individuals on

JDDA's payroll, as "one of the top three precinct captains" who also "trains people how to go door

to door ... so just to give you an idea how important the guy is."

                (b)     On or about February 7, 2019, McClain advised Marquez about how to

present information within ComEd concerning the renewal of JDDA's contract for 2019. In the

conversation, McClain advised Marquez that, "I would say to you don't put anything in writing,"

explaining later in the conversation because "all it can do is hurt ya." McClain further advised

Marquez that, if asked by a ComEd official why JDDA was being paid, Marquez should explain

that the associates of Madigan were former ward committeemen and aldermen, that it was a

"favor," and that it would be up to Doherty to prove that Madigan's associates performed work,

not ComEd.

                (c)     On or about February 11, 2019, McClain had a conversation with Hooker,

who by that time had retired from ComEd, but had continued to serve as a paid external lobbyist

to ComEd. In discussing how the renewal of JDDA's contract—which included significant

payments to JDDA to account for indirect payments to Madigan's associates—should be

communicated internally, McClain stated, "We had to hire these guys because [Madigan] came to

us. It's just that simple." Hooker agreed, and added, "It's, it's clean for all of us."

                (d)     On or about February 13, 2019, Doherty advised Marquez that Associate 1

and Associate 2 had been made "subcontractors" of JDDA at the request of Hooker, and that

Associate 3 was also currently being paid as a "subcontractor." Doherty emphasized that he had

told no one of the arrangement per instructions previously given to him, and cautioned Marquez

that ComEd should not tamper with the arrangement because "your money comes from

Springfield," and that Doherty had "every reason to believe" that McClain had spoken to Madigan




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about the retention of Madigan's associates, and knew Hooker had done so. Doherty added that

Madigan's associates "keep their mouth shut, and, you know, so. But, do they do anything for me

on a day to day basis? No." Doherty explained that these payments were made "to keep [Madigan]

happy, I think it's worth it, because you'd hear otherwise."

               (e)     On or about March 5, 2019, McClain and ComEd personnel participated in

a meeting during which they discussed JDDA's contract and why the indirect payments to

Madigan's associates made under the guise of that contract should be continued for another year.

During that meeting, McClain explained that for decades, Madigan had named individuals to be

ComEd employees, such as meter readers, as part of an "old-fashioned patronage system." In

response, a ComEd employee acknowledged that such hires could be a "chip" used by ComEd.

ComEd renewed JDDA's contract.

               (f)     On or about March 6, 2019, McClain and Hooker discussed the renewal of

JDDA's contract. During the conversation, Hooker explained that "with the [Doherty] stuff, you

got a little leg up," to which McClain agreed. Hooker later added, "I mean it's uh, unmentioned,

but you know, that which is understood need not be mentioned." McClain responded, "Right.

Exactly. Exactly."

       38.     Between 2011 and 2019, indirect payments made to Madigan's associates—who

performed little or no work for ComEd—totaled approximately $1,324,500. These indirect

payments were made not only through JDDA, but through other additional third-party vendors.

As with JDDA, these other third-party vendors entered into contracts with ComEd that noted that

the payments made to these vendors by ComEd were for consulting and related services, when in

truth, a substantial portion of the money paid to these vendors was intended for Madigan's

associates, who did little or no work for ComEd. These payments, like those made indirectly




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through JDDA, were intended to influence and reward Madigan in connection with the

advancement and passage of legislation favorable to ComEd in the Illinois General Assembly.

Prior to ComEd's discovery of the federal law enforcement investigation, Madigan and McClain's

approval was sought by ComEd before payments to certain of Madigan's associates were

discontinued, even though these individuals performed little or no work for ComEd. As with the

payments made to Madigan's associates through JDDA, despite that Madigan's associates were

subcontracted under and receiving payments through these third party vendors, no such payments

were identifiable in ComEd's vendor payment system. Certain former ComEd executives designed

these payment arrangements in part to conceal the size of payments made to Madigan's associates,

and to assist ComEd in denying responsibility for oversight of Madigan's associates, who

performed little or no work for ComEd.

       39.    Beginning in 2017, Madigan sought the appointment of an associate to the ComEd

Board of Directors (hereinafter referred to as "Board Member 1"). Madigan's request was

communicated by McClain to defendant Pramaggiore. In May 2018, in response to internal

company opposition to the appointment of Board Member 1, defendant Pramaggiore asked

McClain if Madigan would be satisfied if she arranged for Board Member 1 to receive a part-time

job that paid an equivalent amount of money to a board member position, namely, $78,000 a year.

McClain told defendant Pramaggiore that Madigan would appreciate if she would "keep pressing"

for the appointment of Board Member 1, and defendant Pramaggiore agreed to do so.

       40.    In September 2018, defendant Pramaggiore (who by this time had been promoted

to an executive position within Exelon Utilities, in which capacity she maintained oversight

authority over ComEd) assured McClain that she was continuing to advocate for the appointment

of Board Member 1 made at Madigan's request because "[y]ou take good care of me and so does




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our friend [Madigan] and I will do the best that I can to, to take care of you." On or about April

25, 2019, defendant Pramaggiore advised McClain by text message: "Just sent out Board approval

to appoint [Board Member 1] to ComEd Board." The following day, April 26, 2019, ComEd filed

a notice with the SEC stating that Board Member 1 had served as a director of ComEd since April

2019. Although ComEd and Exelon conducted due diligence on Board Member 1 and ultimately

determined he was qualified for a board position, no one at ComEd or Exelon recruited Board

Member 1 to serve as a director, and ComEd did not interview or vet other outside candidates for

the vacant board seat. ComEd appointed Board Member 1, in part, with the intent to influence and

reward Madigan in connection with Madigan's official duties.

       41.     In 2011, ComEd agreed to retain "Law Firm A," and entered into a contract

pursuant to which ComEd agreed to provide Law Firm A with a minimum of 850 hours of attorney

work per year. This contract was entered into with Law Firm A, in part, with the intent to influence

and reward Madigan in connection with his official duties and because personnel and agents of

ComEd understood that giving this contract to Law Firm A was important to Madigan. In 2016,

Law Firm A's contract was up for renewal. As part of renewal discussions, personnel within

ComEd sought to reduce the hours of legal work they provided to Law Firm A from the 850 hours

specified in the 2011 retention agreement because ComEd paid only for hours worked and there

was not enough appropriate legal work to give to Law Firm A to fill 850 annual hours. Thereafter,

an attorney associated with Law Firm A ("Lawyer A") complained to McClain about ComEd's

effort to reduce the amount of work provided to Law Firm A. On or about January 20, 2016,

McClain contacted defendant Pramaggiore and wrote: "I am sure you know how valuable [Lawyer

A] is to our Friend [Madigan]," and then went on to write: "I know the drill and so do you. If you

do not get involve [sic] and resolve this issue of 850 hours for his law firm per year then he will




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go to our Friend [Madigan]. Our Friend [Madigan] will call me and then I will call you. Is this a

drill we must go through?" Defendant Pramaggiore replied in writing: "Sorry. No one informed

me. I am on this." Thereafter, defendant Pramaggiore tasked a ComEd employee, who was

assigned as a "project manager" to assist with the project of obtaining legislative approval of FEJA,

to ensure that Law Firm A's contract was renewed. The project manager had no oversight authority

over ComEd's legal department and was not otherwise involved in deciding what legal

professionals the legal department retained. The project manager was assigned the task of ensuring

Law Firm A's contract was renewed because the work provided to Law Firm A was, in part,

designed to influence and reward Madigan in connection with his official duties, including the

promotion and passage of FEJA. ComEd agreed in June 2016 to renew Law Firm A's contract

with substantially reduced annual hours.

       42.     Beginning no later than 2013, and continuing until in or around 2019, ComEd

operated an internship program. As part of the program, ComEd would accept a specified target

number of students who primarily resided in a Chicago ward that Madigan was associated with

("Madigan's Ward") and that were recommended to ComEd by associates of Madigan, including

McClain. ComEd hired students from Madigan's Ward, in part, with the intent to influence and

reward Madigan in connection with his official duties.

       43.     In short, between 2011 and 2019, during the same time frame that ComEd was

making payments to Madigan's associates, and extending other benefits for the purpose of

influencing and rewarding Madigan, ComEd was also seeking Madigan's support for legislation

that was beneficial to ComEd, including EIMA and FEJA, that would ensure a continued favorable

rate structure for ComEd. The reasonably foreseeable anticipated benefits to ComEd of such

legislation exceeded $150 million.




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       44.     As stated above, ComEd stipulated that the above information from the DPA

contained in paragraphs 31 through 43 "is true and accurate." Further, ComEd entered the DPA

"pursuant to authority granted by the Board of Directors of Exelon." Accordingly, the Board is

well aware of the wrongdoing described above.

                         FALSE AND MISLEADING STATEMENTS

       45.     The criminal bribery conspiracy was not the only wrongdoing occurring at Exelon.

During the relevant period, the Individual Defendants made false and misleading statements,

engaged in a scheme to deceive the market, and undertook a course of conduct that artificially

inflated the price of Exelon common stock. In particular, the Individual Defendants' and the

Company's claimed successes with the Illinois General Assembly were the result of an undisclosed

bribery scheme that exposed the Company to substantial risk of criminal penalties and diminished

legislative and public reputation.

       46.     On February 8, 2019, Exelon filed the combined 2018 Form 10-K with the SEC.

Defendants Crane, Pramaggiore, and Dominguez signed the 2018 Form 10-K. The 2018 Form 10-

K directed investors to the Code, located on the Company's website, the contents of which, in part,

are stated above. However, the statements in the Code were false and misleading as, contrary to

its language, Exelon, through ComEd, was engaged in a massive bribery scheme and had been for

eight years.

       47.     In addition, the 2018 Form 10-K also contained false and misleading statements

concerning the Company's lobbying efforts, stating, in part:

       Generation's Dresden, Byron, and Braidwood nuclear plants in Illinois are also
       showing increased signs of economic distress, which could lead to an early
       retirement, in a market that does not currently compensate them for their unique
       contribution.... Exelon continues to work with stakeholders on state policy
       solutions, while also advocating for broader market reforms at the regional and
       federal level [(the "State Policy Solutions Statement")].



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          48.    Concerning the financial benefits of FEJA, the 2018 Form 10-K stated, "FEJA

allows ComEd to defer energy efficiency costs ... as a separate regulatory asset that is recovered

through the energy efficiency formula rate over the weighted average useful life, as approved by the

[Illinois Commerce Commission], of the related energy efficiency measures." The 2018 Form 10-

K also claimed:

          Pursuant to FEJA, ... Generation's Clinton Unit 1, Quad Cities Unit 1 and Quad
          Cities Unit 2 nuclear plants were selected as the winning bidders through the IPA's
          ZEC procurement event. Generation executed the required ZEC procurement
          contracts with Illinois utilities, including ComEd, effective January 26, 2018 and
          began recognizing revenue, with compensation for the sale of ZECs retroactive to
          the June 1, 2017 effective date of FEJA. During the year ended December 31,
          2018, Generation recognized revenue of $373 million, of which $150 million
          related to ZECs generated from June 1, 2017 through December 31, 2017.

                                            *      *       *

          On December 7, 2016, Illinois FEJA was signed into law by the Governor of Illinois
          and included a ZES that now provides compensation to Clinton and Quad Cities
          for the carbon-free attributes of their production through 2027. With the passage
          of the Illinois ZES in December 2016, Generation reversed its June 2016 decision
          to permanently cease generation operations at the Clinton and Quad Cities
          nuclear generating plants. Clinton and Quad Cities are currently licensed to operate
          through 2026 and 2032, respectively.

          49.    The 2018 Form 10-K identified supposed "risks" facing the Company, while failing

to disclose that the bribery scheme was already occurring. In particular, the 2018 Form 10-K

stated:

          The Registrants [including Exelon and ComEd] have large consumer customer
          bases and as a result could be the subject of public criticism focused on the
          operability of their assets and infrastructure and quality of their service. Adverse
          publicity of this nature could render legislatures and other governing bodies,
          public service commissions and other regulatory authorities, and government
          officials less likely to view energy companies such as Exelon and its subsidiaries in
          a favorable light, and could cause Exelon and its subsidiaries to be susceptible to
          less favorable legislative and regulatory outcomes, as well as increased regulatory
          oversight and more stringent legislative or regulatory requirements (e.g.
          disallowances of costs, lower ROEs). The imposition of any of the foregoing could
          have a material negative impact on the Registrants' business or consolidated
          financial statements.


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       50.     The failure of the 2018 Form 10-K to discuss the Company's bribery scheme also

violated Item 303 of SEC regulation S-K, 17 C.F.R. §229.303, which required the Company to

"[d]escribe any known trends or uncertainties that have had or that [the Company] reasonably

[expects will] have a material favorable or unfavorable impact on net sales or revenues or income

from continuing operations." 17 C.F.R. §229.303(b)(2)(ii). Further, the 2018 Form 10-K violated

Item 303 requirement that the defendants disclose any events that would "cause a material change

in the relationship between costs and revenues" and "any unusual or infrequent events or

transactions or any significant economic changes that materially affected the amount of reported

income from continuing operations and, in each case, indicate the extent to which income was so

affected." 17 C.F.R. §229.303(b)(2)(i)-(ii).

       51.     In addition, the 2018 Form 10-K violated Item 105 of SEC Regulation S-K, 17

C.F.R. §229.105, which required the report to contain "a discussion of the material factors that

make an investment in the registrant or offering speculative or risky," by not discussing the bribery

scheme. The Company's combined Quarterly Reports on Forms 10-Q also violated Items 303 and

105 but similarly failing to comply with the requirements that the defendants discuss the bribery

scheme in those filings.

       52.     Also, on February 8, 2019, the Company held an earnings conference call with

analysts and investors regarding its fourth quarter and year-end 2018 financial results. During the

call, an analyst asked whether there was "any update on sort of efforts to engage the legislature in

Illinois, coalition building, et cetera?" Defendant Crane responded:

       As you can imagine, we work within the coalitions within the state on what's
       needed to continue to advance the environmental stakeholders, the customers in
       sound investment. So we have our folks communicating in those coalitions and
       communicating with the legislative folks. Premature to say what it looks like at the
       end of the day. But they're at the beginning of the sausage-making right now. And
       we'll continue to have productive conversations.



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       53.     Exelon also published on its website its "Political Contributions Reports." The

Political Contributions Reports claimed that the contributions were all made in accordance with

its Corporate Political Contributions Guidelines and that "this report includes a listing of Exelon's

political contributions for the above noted reporting period." These statements were false,

however, as the Company was making bribes to Madigan that were not contained in the reports.

       54.     On May 2, 2019, the Company held an earnings conference call with analysts and

investors to discuss its financial results for the first quarter of 2019. Discussing the Company's

attempts to have favorable legislation passed, defendant Crane stated:

       In Illinois, legislation was introduced that would require the Illinois Power
       Authority to procure clean capacity for ComEd customers using the fixed resource
       requirement mechanism that is currently in the PJM tariff. In addition to supporting
       of course truly clean energy future, in Illinois the legislation would also ensure that
       consumers pay less than they do today.

       The concept of the FRR has a wide support and has been endorsed by the Illinois
       hub – the Clean Jobs Coalition and organized labor. Another piece of legislation
       has been introduced into Illinois to extend the formula rate – ComEd's formula rate
       provides tangible benefits to the consumers as well as certainty we need to make
       investments and improve reliability and resiliency in customer service while keeping
       the bills affordable....

       It's a busy legislative season as Governor Pritzker and the General Assembly tackle
       Illinois' significant budget problems. However, we are optimistic these 2 priorities
       can get done this year

       55.     In response to an analyst asking for more detail on the bills related to energy policy

in Illinois, defendant Crane stated:

       Our bill for the FRR, there's one that's a path to 100, and then there is one that's the
       clean jobs coalition. So we're in the process right now of negotiating with the all
       the bills so we can come together and provide the legislature with a coalition that
       agrees on many things right now. Just working through the details. We hope to be
       done. Meetings are constant. I've met with the leadership of both the House and
       Senate, talking about what we need to do and them showing their support for us
       going forward. So we're just going to keep working on it as we always do. If it's not
       done in the regular session because of the other priorities, we will have it positioned
       to move through during the veto session. That's the Generation bill.



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       The other bill in Illinois that will affect Exelon is the extension of the ComEd
       formula rate for 10 years. That bill is proceeding. We've been able to work with
       stakeholders to gain support and recognition.
                                         *        *      *
       We're working with the coalitions as hard as we can to have something
       presentable to the – that the legislature supports to move in the Spring. But what
       I've cautioned in our roadshows and on the calls previously, there is a very
       aggressive legislative agenda in Illinois this Spring.      We need to be ready to be
       able to tell our story, communicate and have that coalition that we're building,
       endorsing where we're heading. But we need to be realistic. We do think if it
       doesn't happen in the Spring, we'll be ready to move it in the veto session in the fall.

       56.    That same day, the Company filed its combined Quarterly Report on Form 10-Q

for the first quarter ended March 31, 2019 (the "Q1 2019 Form 10-Q") with the SEC. The Q1

2019 Form 10-Q was signed by defendants Crane and Dominguez. The Q1 2019 Form 10-Q

contained misleading statements concerning the Company's lobbying efforts to secure passage of

the Illinois Clean Energy Progress Act, as they did not disclose the bribery scheme with Madigan.

In particular, the Q1 2019 Form 10-Q stated:

       On March 14, 2019, the Clean Energy Progress Act was introduced in the Illinois
       General Assembly to preserve Illinois' clean energy choices arising from FEJA and
       empower the IPA to conduct capacity procurements outside of PJM's base residual
       auction process Exelon and Generation are working with legislators and
       stakeholders and cannot predict the outcome or the potential financial impact, if any,
       on Exelon or Generation [(the "CEPA Lobbying Statement")].

       57.    Discussing FEJA, the Q1 2019 Form 10-Q stated, in pertinent part:

       Pursuant to FEJA, … Generation's Clinton Unit 1, Quad Cities Unit 1 and Quad
       Cities Unit 2 nuclear plants were selected as the winning bidders through the IPA's
       ZEC procurement event. Generation executed the ZEC procurement contracts with
       Illinois utilities, including ComEd, effective January 26, 2018 and began
       recognizing revenue with compensation for the sale of ZECs retroactive to the June
       1, 2017 effective date of FEJA. During the three months ended March 31, 2018,
       Generation recognized $150 million of revenue related to ZECs generated from
       June 1, 2017 through December 31, 2017.
                                          *       *      *
       "Under FEJA, energy efficiency revenue varies from year to year based upon
       fluctuations in the underlying costs, investments being recovered, and allowed ROE.


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       Energy efficiency revenue increased during the three months ended March 31,
       2019 as compared to the same period in 2018, primarily due to the impact of higher
       rate base.


       58.      The Q1 2019 Form 10-Q also stated that the board of directors of ComEd appointed

Juan Ochoa ("Ochoa") to its board. On information and belief, Ochoa is "Board Member 1," as

described by the DOJ that he received his position because of the illegal bribery scheme.

       59.      The Q1 2019 Form 10-Q also repeated the State Policy Solutions Statement and the

risk factors detailed above.

       60.      On July 15, 2019, Exelon filed a combined Current Report on Form 8-K

announcing that Exelon and ComEd "received a grand jury subpoena from the U.S. Attorney's

Office for the Northern District of Illinois requiring production of information concerning their

lobbying activities in the State of Illinois. The Companies have pledged to cooperate fully and are

cooperating fully with the U.S. Attorney's Office in expeditiously providing the requested

information."

       61.      On August 1, 2019, the Company held an earnings conference call with analysts

and investors to discuss its financial results for the second quarter of 2019. During the call,

defendant Crane addressed the subpoena the Company received. In doing so, however, he

downplayed the effect of the subpoenas on Exelon and scope of the wrongdoing. In particular,

defendant Crane stated:

       [W]e've received numerous questions from our investors about the subpoena in
       Illinois from the U.S. Attorney's Office. We are cooperating fully and provided all –
       are providing all information requested by the U.S. Attorney's Office. We simply
       can't comment further on the investigation, and we are not going to speculate on
       whether it may affect legislative efforts in the – Illinois this fall. What we do know
       about this fall session is there are a number of stakeholders who want to see clean
       energy legislation enacted.

       Illinois lags behind other progressive states on clean energy policy. Passing the
       clean energy legislation is a priority for many stakeholders, include -- in Illinois,


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       including the Citizens Utility Board, [Labor], the Clean Jobs Coalition and the
       Renewable Community. These stakeholders want to greatly expand their renewable
       penetration so the state will be able to achieve the 100% clean energy target by
       2030. [Senior Vice President of Governmental Regulatory Affairs and Public
       Policy] Kathleen [Barrón] and her team are working with the stakeholders to
       help crack the legislation -- the legislative package and the -- inform members of
       general assembly on the benefits of this legislation.

                                        *       *       *

       As you can imagine, we have a significant communications drive with the
       legislative and the administration on the situation and we are prepared to present
       them with a coalition[.]

       62.     Defendant Von Hoene, meanwhile, claimed that the subpoenas had "no impact" on

the Company's outreach to legislators in order to get certain bills passed. In particular, defendant

Von Hoene stated:


       The activity that has started and continued for a number of months on advancing the
       clean energy legislation among the coalition that was referenced by Kathleen and
       by [defendant Crane] remains unchanged. We're meeting regularly, we're doing
       the stakeholder outreach, we're trying to craft a package and educate members
       of legislature and the tendency of the grand jury and subpoenas had no impact
       on the level of activity or the intensity of the activity in that regard.

       63.     Defendant Pramaggiore claimed that Chicago and Exelon's "priorities" were "very

much aligned" in response to a question asking for "some background of your franchise agreement

in Chicago." In particular, defendant Pramaggiore stated:

       [T]he expiration date is the end December of 2020. The city needs to give us, in its
       indication by the end of the year, as to whether they want to maintain status quo,
       renegotiate or terminate the franchise agreement. So we'll know by the end of the year.
       But we're in discussions with them. We started to have discussions around that. We
       understand what their priorities are and they are, I think, priorities are very much
       aligned with ours. They want to see more clean energy in the city of Chicago and they
       are concerned about vulnerable population in particular in terms of pricing, and those are
       all – those are both strong strategic elements of our focus going forward at all our
       utilities. But that's the status right now.

       64.     On August 1, 2019, the Company filed its combined Quarterly Report on Form 10-

Q for the second quarter ended June 30, 2019 (the "Q2 2019 Form 10-Q") with the SEC.



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Defendants Crane and Dominguez signed the Q2 2019 Form 10-Q. The Q2 2019 Form 10-Q

claimed that Exelon's risk factors were "consistent with the risk factors described in [Exelon and

ComEd's] combined 2018 Form 10-K." The Q2 2019 Form 10-Q repeated the State Policy

Solutions Statement and the CEPA Lobbying Statement described above. It also claimed that

"[u]nder FEJA, energy efficiency revenue varies from year to year based upon fluctuations in the

underlying costs, investments being recovered, and allowed [return on equity]. Energy efficiency

revenue increased during the three and six months ended June 30, 2019 as compared to the same

period in 2018, primarily due to the impact of higher rate base[,]" without disclosing the role the

bribery scandal played in the passage of FEJA.

                       THE FALSE AND MISLEADING 2019 PROXY

       65.     On March 20, 2019, Exelon filed its combined annual Proxy Statement on Schedule

14A (the "2019 Proxy") with the SEC that was solicited to stockholders "on behalf of the Board

of Directors" (including defendant Crane).

       66.     Plaintiff's allegations with respect to the misleading statements in the 2019 Proxy

are based solely on negligence; they are not based on any allegation of reckless or knowing conduct

by or on behalf of these defendants, and they do not allege and do not sound in fraud. Plaintiff

specifically disclaims any allegations of, reliance upon any allegation of, or reference to any

allegation of fraud, scienter, or recklessness with regard to these allegations and related claims.

       67.     The 2019 Proxy again directed investors to Exelon's Code on the website, which

was false and misleading as described above.

       68.     The 2019 Proxy highlighted supposed "Board [a]ccountability" by claiming that:

       The Board regularly reviews management's systematic approach to identifying and
       assessing risks faced by Exelon and each business unit, taking into account emerging
       trends and developments and in connection with capital investments and business
       opportunities.



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                                         *     *       *
       The Company and its business units/operating companies also have Risk
       Management Committees composed of select senior officers including the chief
       executive officers of those business units/operating companies and the Exelon
       CEO, who meet regularly to discuss matters related to enterprise risk management
       generally, risks associated with new developments or proposed transactions under
       consideration, and ensure that processes are in place to identify and assess risks
       within the business as well as measure and manage risk exposures in accordance
       with Exelon's policies, programs, strategies, and risk appetite as approved by the
       Exelon Board.

       69.      The 2019 Proxy harmed Exelon by interfering with the proper governance on its

behalf that follows the free and informed exercise of stockholders' right to vote for directors. As

a result of these misleading statements, the Company's stockholders voted via an uninformed

stockholder vote to reelect the members of the Board, including defendant Crane.

                              THE TRUTH SLOWLY EMERGES

       70.      On July 15, 2019, Exelon filed a combined Current Report on Form 8-K

announcing that Exelon and ComEd "received a grand jury subpoena from the U.S. Attorney's

Office for the Northern District of Illinois requiring production of information concerning their

lobbying activities in the State of Illinois. The Companies have pledged to cooperate fully and are

cooperating fully with the U.S. Attorney's Office in expeditiously providing the requested

information."

       71.      On July 18, 2019, the Chicago Tribune published an article titled "FBI Raids

Downstate Home of Longtime ComEd Lobbyist Who Is Close Confidant of Speaker Madigan."

The ComEd lobbyist was McClain.          The article stated, "McClain was a point man in the

discussions about major ComEd and parent company Exelon legislation for decades. He retired

as a lobbyist shortly after the passage of legislation in December 2016 that raised electricity rates

on Illinois residents and businesses to help bail out a pair of Exelon's nuclear power plants."




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       72.       On this news, Exelon's market capitalization plunged $1.1 billion, going from

$48.76 per share to $47.57 per share in a single day.

       73.       On October 15, 2019, the Company announced that defendant Pramaggiore was

leaving the Company. On this news, the Company's stock price fell from $47.06 per share to

$44.91 per share, erasing another $2 billion in market capitalization in a single day.

                                    DAMAGES TO EXELON

       74.       As a result of the Individual Defendants' improprieties, Exelon engaged in a

rampant bribery scheme, its subsidiary entered into the DPA, and the Company disseminated

improper, public statements. These improper statements have devastated Exelon's credibility as

reflected by the Company's over $6.6 billion, or 13.4%, market capitalization loss.

       75.       Exelon's performance issues also damaged its reputation within the business

community and in the capital markets. In addition to price, Exelon's current and potential

customers consider whether a company achieves its revenues legally. Exelon's ability to raise

equity capital or debt on favorable terms in the future is now impaired. In addition, the Company

stands to incur higher marginal costs of capital and debt because the improper statements and

misleading projections disseminated by the Individual Defendants have materially increased the

perceived risks of investing in and lending money to the Company.

       76.       Further, as a direct and proximate result of the Individual Defendants' actions,

Exelon has expended, and will continue to expend, significant sums of money. Such expenditures

include, but are not limited to:

                 (a)    costs incurred from defending and paying the settlement of the government

investigation;

                 (b)    costs incurred from implementing the DPA;




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               (c)     costs incurred from lavishing unwarranted gifts on Madigan and his cronies;

               (d)     costs incurred from defending and paying any settlement in the class action

for violations of federal securities laws; and

               (e)     costs incurred from compensation and benefits paid to the defendants who

have breached their duties to Exelon.

                  DERIVATIVE AND DEMAND REFUSED ALLEGATIONS

       77.     Plaintiff brings this action derivatively in the right and for the benefit of Exelon to

redress injuries suffered, and to be suffered, by Exelon as a direct result of breach of fiduciary

duty, unjust enrichment, and violation of securities law, as well as the aiding and abetting thereof,

by the Individual Defendants. Exelon is named as a nominal defendant solely in a derivative

capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

otherwise have.

       78.     Plaintiff will adequately and fairly represent the interests of Exelon in enforcing

and prosecuting its rights.

       79.     Plaintiff was a stockholder of Exelon at the time of the wrongdoing complained of,

has continuously been a stockholder since that time, and is a current Exelon stockholder.

       80.     On August 11, 2020, plaintiff sent the Board of Exelon the Demand detailing the

wrongdoing explained herein and demanding that the Board investigate and the initiate litigation

against the culpable fiduciaries. A true and correct copy of the Demand is attached hereto as

Exhibit A.

       81.     Plaintiff received a short response letter from Exelon's in-house counsel on

September 1, 2020. Counsel confirmed receipt of the Demand and that the Board intended to

consider the Demand at its next meeting. Counsel also requested that plaintiff provide proof




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concerning the dates and amounts of Exelon stock purchases by plaintiff. A true and correct copy

of the September 1, 2020 letter is attached hereto as Exhibit B.

       82.     Plaintiff responded on September 2, 2020. Though there is no requirement that

plaintiff provide the requested proof, he provided an enclosure with his letter proving that he was

a continuous and long-term Exelon stockholder. A copy of the September 2, 2020 letter is attached

hereto as Exhibit C.

       83.     Between the end of 2020 and the first quarter of 2021, plaintiff's counsel and the

Company's internal counsel discussed the Board forming a demand review committee to consider

the Demand. On April 5, 2021, plaintiff received a letter from counsel purporting to represent a

"Special Litigation Committee" that the Board formed to consider the Demand. A true and correct

copy of the April 5, 2021 letter is attached hereto as Exhibit D.

       84.     On April 28, 2021, plaintiff's counsel wrote to the SLC's counsel.          Plaintiff

requested that the SLC provide him with an update on what steps the SLC had taken to preserve

the Company's claims in light of any potential statute of limitation issue. Plaintiff noted that the

claims were particularly strong in this instance in light of Judge Kendall's decision to deny the

motions to dismiss the securities class action. A true and correct copy of the April 28, 2021 letter

is attached hereto as Exhibit E.

       85.     Counsel for the SLC responded on May 7, 2021. Counsel stated that the SLC had

taken no steps to preserve the Company's valuable claims, despite the substantial passage of time,

and no intention of taking any further steps to preserve such claims. A true and correct copy of

the May 7, 2021 letter is attached hereto as Exhibit F.

       86.      Pennsylvania has adopted certain sections of the American Law Institute Principles

of Corporate Governance: Analysis and Recommendations ("ALI Principles").               Concerning




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derivative actions, Pennsylvania has specifically adopted ALI Principles sections 7.02-7.10 and

7.13. Cuker v. Mikalauskas, 547 Pa. 600, 614, 692 A.2d 1042, 1049 (1997)

       87.       ALI Principles section 7.03 addresses the requirement that stockholders make a

demand on the Board before instituting a derivative action. In particular, section 7.03 states, in

relevant part:

       (a) Before commencing a derivative action, a holder or a director should be required
       to make a written demand upon the board of directors of the corporation, requesting
       it to prosecute the action or take suitable corrective measures, unless demand is
       excused under § 7.03(b). The demand should give notice to the board, with
       reasonable specificity, of the essential facts relied upon to support each of the
       claims made therein.

                                          *      *       *

       (c) Demand on shareholders should not be required.

       (d) Except as provided in § 7.03(b), the court should dismiss a derivative action that
       is commenced prior to the response of the board or a committee thereof to the
       demand required by § 7.03(a), unless the board or committee fails to respond
       within a reasonable time.

       88.       Here, the Board has failed to respond to plaintiff's Demand in a reasonable time.

Ten months have passed since plaintiff's counsel sent the Demand to the Board. Comment (f) to

ALI Principles section 7.03 provides sixty days as an example of a reasonable amount of time to

respond, and explicitly states that a delay of six months or more "would often prejudice the

plaintiff." The comment continues that "If the corporation fails to undertake and complete its

inquiry within a reasonable period following demand (which period should never exceed several

months even when a study is undertaken and seldom should be that long), the plaintiff may file

the action, and it should not be deemed premature." The Board's inquiry has improperly lasted

more than several months (indeed, lasting more than ten months). In addition, the SLC shows no

sign of concluding its investigation in the near future.      Accordingly, plaintiff has satisfied

Pennsylvania's demand requirement, and may pursue this action on behalf of the Company.


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          89.   Further, the SLC and Board have failed to take steps to preserve the Company's

claims, despite the potential running of the statute of limitations. Accordingly, the Board and

SLC's refusal to consider plaintiff's Demand in a timely and appropriate manner and to take steps

to protect Exelon's claims amounts to a wrongful refusal of the Demand and justifies the filing of

this action.

                                            COUNT I

                Against the Individual Defendants for Breach of Fiduciary Duty

          90.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          91.   The Individual Defendants owed and owe Exelon fiduciary obligations. By reason

of their fiduciary relationships, the Individual Defendants owed and owe Exelon the highest

obligation of care and loyalty.

          92.   The Individual Defendants and each of them, violated and breached their fiduciary

duties.

          93.   As a direct and proximate result of the Individual Defendants' breaches of their

fiduciary obligations, Exelon has sustained significant damages, as alleged herein. As a result of

the misconduct alleged herein, these defendants are liable to the Company.

          94.   Plaintiff, on behalf of Exelon, has no adequate remedy at law.

                                            COUNT II

                   Against the Individual Defendants for Unjust Enrichment

          95.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.




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       96.     By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of Exelon. The Individual Defendants were

unjustly enriched as a result of the compensation and director remuneration they received while

breaching fiduciary duties owed to Exelon.

       97.     Plaintiff, as a stockholder and representative of Exelon, seeks restitution from these

defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits, and

other compensation obtained by these defendants, and each of them, from their wrongful conduct

and fiduciary breaches.

       98.     Plaintiff, on behalf of Exelon, has no adequate remedy at law.

                                           COUNT III

      Against the Defendant Crane for Violation of Section 14(a) of the Exchange Act

       99.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       100.    The section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the defendant Crane. The section 14(a) Exchange Act claims alleged herein do not allege and

do not sound in fraud. Plaintiff specifically disclaims any allegation of, reliance upon any

allegation of, or reference to any allegation of fraud, scienter, or recklessness with regard to the

nonfraud claims.

       101.    Defendant Crane negligently issued, caused to be issued, and participated in the

issuance of materially misleading written statements to stockholders which were contained in the

2019 Proxy. In the 2019 Proxy, the Board solicited stockholder votes to reelect certain directors

to the Board. The 2019 Proxy, however, misrepresented and failed to disclose the illegal bribery




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conspiracy and the Company's inadequate internal controls which facilitated the illegal behavior

detailed herein. By reasons of the conduct alleged herein, defendant Crane violated section 14(a)

of the Exchange Act. As a direct and proximate result of these defendants' wrongful conduct, the

2019 Proxy contained misleading statements that were essential links in stockholders heeding

defendant Crane and the Board's recommendation to reelect certain Board members.

       102.    The misleading information contained in the 2019 Proxy was material to Exelon's

stockholders in determining whether or not to elect these defendants. This information was also

material to the integrity of the directors that were proposed for election to the Board. The proxy

solicitation process in connection with the 2019 Proxy were essential links in the reelection of

nominees to the Board.

       103.    Plaintiff, on behalf of Exelon, thereby seeks relief for damages inflicted upon the

Company based upon the misleading 2019 Proxy in connection with the improper reelection of the

members of the Board.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff, on behalf of Exelon, demands judgment as follows:

       A.      Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants' breach of fiduciary duty, unjust

enrichment, and violation of securities law;

       B.      Directing Exelon to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect Exelon and its

stockholders from a repeat of the damaging events described herein;

       C.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

state statutory provisions sued hereunder, including attaching, impounding, imposing a




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constructive trust on, or otherwise restricting the proceeds of defendants' trading activities or their

other assets so as to assure that plaintiff on behalf of Exelon has an effective remedy;

          D.     Awarding to Exelon restitution from defendants, and each of them, and ordering

disgorgement of all profits, benefits, and other compensation obtained by the defendants,

          E.     Awarding to plaintiff the costs and disbursements of the action, including

reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

          F.     Granting such other and further relief as the Court deems just and proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

Dated: July 8, 2021                                 MOTHERWAY & NAPLETON, LLP


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